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Case 1:09-cV-00597-LI\/|B-TCB Document 159 Filed 07/30/10 Page 1 of 2 Page|D# 2100

UNITED STATES DISTRICT COURT
` EASTERN DISTRICT OF VIRGINIA

 

Intersections, Inc., et al.
Plaintiff,
v.
Joseph C. Loomis, et al.,

Defendant;

Case No. 1109cv597 (LMB/TCB)

 

 

 

()BJECTIONS AND MOTION TO STRIKE
SUPPLEMENTAL DECLARATION OF MICHELLE J. DICKINSON

Cornes noW Joseph C. Loornis (“Mr. Loornis”), by counsel, and moves to strike the
Supplemental Declaration of Michelle J. Dickinson, and in support thereof, respectfully directs

the Court to the accompanying Mernorandum in Support of this Motion.

Respectfully submitted,

/s/

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Case 1:09-cv-00597-L|\/|B-TCB Document 159 Filed 07/30/10 Page 2 of 2 Page|D# 2101

CERTIFICATE ()F SERVICE

l hereby certify that on this 30th day of July, 2010, l have filed a true and con'ect copy of the
foregoing With the Clerk of Court via the Cl\/l/ECF eflling system Which Will send notification of
this filing to the following counsel of record:

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